           Case 1:18-bk-12377-MT Doc 66 Filed 08/11/21                                             Entered 08/11/21 21:17:45                        Desc
                               Imaged Certificate of Notice                                        Page 1 of 6
                                                               United States Bankruptcy Court
                                                                Central District of California
In re:                                                                                                                 Case No. 18-12377-MT
Reynaldo VILLANUEVA                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-1                                                  User: admin                                                                  Page 1 of 2
Date Rcvd: Aug 09, 2021                                               Form ID: pdf042                                                             Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 11, 2021:
Recip ID                 Recipient Name and Address
db                     + Reynaldo VILLANUEVA, 13865 Fielding Street, Pacoima, CA 91331-2719

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 11, 2021                                            Signature:            /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 9, 2021 at the address(es) listed
below:
Name                               Email Address
Arnold L Graff
                                   on behalf of Creditor Wilmington Trust National Association, not in its individual capacity but solely as successor trustee to
                                   Citibank, N.A. as Trustee to Lehman Mortgage Trust Mortgage Pass-Through Certificates Series 2 agraff@wrightlegal.net,
                                   bkudgeneralupdates@wrightlegal.net,jcraig@wrightlegal.net

Elizabeth (SV) F Rojas (TR)
                                   cacb_ecf_sv@ch13wla.com

Joseph C Delmotte
                                   on behalf of Creditor Wilmington Trust National Association, not in its individual capacity but solely as successor trustee to
                                   Citibank, N.A. as Trustee to Lehman Mortgage Trust Mortgage Pass-Through Certificates Series 2 ecfcacb@aldridgepite.com,
                                   JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com

Kelsey X Luu
                                   on behalf of Creditor Wilmington Trust National Association, not in its individual capacity but solely as successor trustee to
                                   Citibank, N.A. as Trustee to Lehman Mortgage Trust Mortgage Pass-Through Certificates Series 2 Kelsey.Luu@mtglawfirm.com,
                                   Kelsey.Luu@mtglawfirm.com;bankruptcy@mtglawfirm.com
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                             Imaged Certificate of Notice                                   Page 2 of 6
District/off: 0973-1                                            User: admin                                                                 Page 2 of 2
Date Rcvd: Aug 09, 2021                                         Form ID: pdf042                                                            Total Noticed: 1
Kelsey X Luu
                             on behalf of Creditor c/o AldridgePite LLP Wilmington Trust, National Association, not in its individual capacity but solely as
                             successor trustee to Citibank, N.A. as Trustee to Lehman Mortgage Trust Mortgage Pass-Through Certificates Series 2
                             Kelsey.Luu@mtglawfirm.com, Kelsey.Luu@mtglawfirm.com;bankruptcy@mtglawfirm.com

R Grace Rodriguez
                             on behalf of Debtor Reynaldo VILLANUEVA ecf2@lorgr.com rodriguezrr66050@notify.bestcase.com

United States Trustee (SV)
                             ustpregion16.wh.ecf@usdoj.gov


TOTAL: 7
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2
                                                                      FILED & ENTERED
3
4                                                                            AUG 09 2021
5
                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
6                                                                       BY egonzale DEPUTY CLERK


7
8
9                             UNITED STATES BANKRUPTCY COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
                                SAN FERNANDO VALLEY DIVISION
11
12
13   In re:                                          Case No.: 1:18-bk-12377-MT

14   Reynaldo Villanueva                             CHAPTER 13
15                                                   ORDER SETTING HEARING ON MOTION
16                                                   TO RECONSIDER ORDER GRANTING
                                                     RELIEF FROM THE AUTOMATIC STAY
17
                                       Debtor(s).    Hearing information:
18                                                   Date:        August 17, 2021
                                                     Time:        10:00 a.m.
19
                                                     Courtroom: 302 (via ZoomGov.com)
20
21            On January 9, 2019, the Adequate Protection Order entered into by Reynaldo
     Villanueva ³'HEWRU´)YLDKLVFRXQVHO5*UDFH5RGULJXH] ³5RGULJXH]´ and Creditor
22
     Wilmington Trust, N.A. (Creditor) was approved by the Court in an Order, reflected on
23
     the docket of this case as ECF no. 39.
24
              On July 8, 2021, Creditor filed a Declaration re Default under Adequate
25   Protection Agreement, ECF doc. 56. A review of the docket shows that no response
26   was filed on behalf of Debtor. On July 15, 2021, the Court entered an Order Granting
27   5HOLHIIURP6WD\GXHWRWKHGHIDXOWXQGHUWKH$32 WKH³5)62UGHU´(&)GRF .

28            On August 6, 2021, Debtor, acting as self-represented, filed a pleading styled,
     Notice of Motion and Motion for Order to Reinstate the Automatic Stay and Opposition



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1    to Chapter 13 Trustee's Request for Order to Dismiss, the substance of which related to
2    the circumstances surrounding 'HEWRU¶VLQWHUDFWLRQVZLWK Rodriguez in the time leading

3    up to the entry of the RFS Order. Having reviewed the pleading filed by Debtor, the
     Court construes it as a motion seeking to alter or amend a judgment under FRCP 59(e)
4
      WKH³0RWLRQIRU5HFRQVLGHUDWLRQ´(&)GRF). For good cause appearing, on the
5
     CRXUW¶VRZQPRWLRQ,
6
7           IT IS HEREBY ORDERED that the Motion for Reconsideration shall be heard on
8    August 17, 2021, at 10:00 a.m., via ZoomGov.com, using the information provided
9    below; and
10
            IT IS FURTHER ORDERED that attorney R. Grace Rodriguez shall file a written
11
     response to the facts alleged by Debtor in the Motion for Reconsideration (ECF doc. 60)
12   on or before August 13, 2021 at 4:00 p.m.; and
13
            IT IS FURTHER ORDERED that attorney R. Grace Rodriguez appear personally
14
     by videoconference at the hearing on ZoomGov.com; and
15
16          IT IS FURTHER ORDERED that the hearing shall take place using
17   ZoomGov.com, a service that provides simultaneous audioconference and

18   videoconference capabilities. The service is free to participants. Participants will be
     connected with the courtroom using these technologies but will not be physically
19
     present in the Courtroom. Participants may connect to the videoconference through an
20
     Internet browser by entering the Videoconference URL shown below, as well as the
21
     meeting ID and password, when prompted.
22
23          Video/audio web address: https://cacb.zoomgov.com/j/1605921904
            Meeting ID: 160 592 1904
24
            Password: 340003
25
     ///
26
     ///
27   ///
28   ///




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1
2    If a participant is unable to send and receive audio through his/her computer, the

3    participant may appear at the hearing by telephone using the following telephone
     conference information:
4
5          Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
6          Meeting ID: 160 592 1904
7          Password: 340003

8                                              ###

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          Date: August 9, 2021
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1
2       NOTICE OF ENTERED ORDER AND SERVICE LIST
3    Notice is given by the court that a judgment or order entitled Order Setting Hearing on
     Motion to Reconsider Order Granting Relief from the Automatic Stay was entered on the
4    GDWHLQGLFDWHGDV³(QWHUHG´RQWKHILUVWSDJHRIWKLVMXGJPHQWRURUGHUDQGZLOOEHVHUYHG
5    in the manner stated below:

6    1.      SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBRs, the foregoing document was served
7    on the following persons by the court via NEF and hyperlink to the judgment or order.
8    As of August 9, 2021, the following persons are currently on the Electronic Mail Notice
     List for this bankruptcy case or adversary proceeding to receive NEF transmission at
9    the email addresses stated below.
10   Joseph C Delmotte      ecfcacb@aldridgepite.com, JCD@ecf.inforuptcy.com;
                            jdelmotte@aldridgepite.com
11
     Arnold L Graff agraff@wrightlegal.net, bkudgeneralupdates@wrightlegal.net,
12                    jcraig@wrightlegal.net
     Kelsey X Luu Kelsey.Luu@mtglawfirm.com, Kelsey.Luu@mtglawfirm.com;
13                   bankruptcy@mtglawfirm.com
     R Grace Rodriguez ecf2@lorgr.com, rodriguezrr66050@notify.bestcase.com
14   Elizabeth (SV) F Rojas (TR) cacb_ecf_sv@ch13wla.com
15   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

16   2.     SERVED BY THE COURT VIA UNITED STATES MAIL: A copy of this notice
     and a true copy of this judgment or order was sent by United States mail, first class,
17   postage prepaid, to the following persons and/or entities at the addresses indicated
18   below:

19   Reynaldo Villanueva
     13865 Fielding Street
20   Pacoima, CA 91331
21
                                               Service information continued on attached page
22
     3.     TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a
23   FRS\RIWKLVMXGJPHQWRURUGHUZKLFKEHDUVDQ³(QWHUHG´VWDPSWKHSDUW\lodging the
     MXGJPHQWRURUGHUZLOOVHUYHDFRPSOHWHFRS\EHDULQJDQ³(QWHUHG´VWDPSE\8QLWHG
24
     States mail, overnight mail, facsimile transmission or email and file a proof of service of
25   the entered order on the following persons and/or entities at the addresses, facsimile
     transmission numbers, and/or email addresses stated below:
26
27
28
                                               Service information continued on attached page




                                                 -4-
